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                                                 U.S. Department of Justice
                                                                                            Page 3
                                                     United States Attorney
My und                                               Southern District of New York
                                                     26 Federal Plaza, 37th Floor
                                                     New York, New York 10278


                                                     October 9, 2024

BY ECF
The Honorable Arun Subramanian
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

         Re:     United States v. Combs, 24 Cr. 542 (AS)

Dear Judge Subramanian:

        The Government respectfully submits this letter in response to Combs’ motion filed earlier
this evening requesting a hearing, exclusion of evidence, and other relief based on purported leaks
in connection with the Government’s investigation. (Dkt. Nos. 30-32). The Government requests
an opportunity to respond in full to the defendant’s motion on or before October 30, 2024, three
weeks from the date of its filing, or on a schedule convenient to the Court. In the interim, the
Government writes briefly to address certain false and misleading allegations.

         Much of Combs’ motion centers on CNN’s May 17, 2024 publication of a video depicting
Combs’ graphic assault of a victim at the InterContinental Hotel in March 2016. (See Dkt. 31 at
2, 8-10). Combs alleges that agents from the Department of Homeland Security (“DHS”) leaked
the video “in violation of grand jury secrecy.” (Id. at 10). But as the Government made clear to
the defense both orally and in writing before it filed the motion,1 the Government was not in
possession of the video before its publication by CNN. Indeed, at the time of CNN’s publication,
the Government did not possess any video of the March 2016 incident. Moreover, the Government
also informed the defense that the Government never obtained the CNN video—at any point, then
or now—through Grand Jury process, and DHS is without power to unilaterally obtain the video
via Grand Jury process. The Government likewise does not understand DHS to have been in
possession of the video prior to CNN’s publication of it.2 There is thus no colorable factual basis
for the defendant’s claim that the Government leaked the video to CNN, let alone that it was leaked
“in violation of grand jury secrecy.” For these reasons, the Government informed the defense
earlier today that any assertion of a grand jury leak with respect to the CNN video would lack a
good faith basis. (See Exh. A).



1
    A copy of the Government’s correspondence with the defense is attached hereto as Exhibit A.
2
   Combs’ motion, on the other hand, seems to absurdly speculate that DHS, the agency
investigating this matter, covertly possessed the video before CNN published it, and then “leaked”
it to CNN but never gave it to the prosecutors assigned to the matter.
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       The Government requests an opportunity to fully address the defendant’s failure to meet
any relevant legal standard for the relief he seeks on a briefing schedule set by the Court and
remains available to answer any further questions of the Court.


                                              Respectfully submitted,

                                              DAMIAN WILLIAMS
                                              United States Attorney

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